Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 1 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 2 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 3 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 4 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 5 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 6 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 7 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 8 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 9 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 10 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 11 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 12 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 13 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 14 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 15 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 16 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 17 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 18 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 19 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 20 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 21 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 22 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 23 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 24 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 25 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 26 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 27 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 28 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 29 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 30 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 31 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 32 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 33 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 34 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 35 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 36 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 37 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 38 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 39 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 40 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 41 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 42 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 43 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 44 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 45 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 46 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 47 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 48 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 49 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 50 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 51 of 52
Case 8:23-bk-11760-TA   Doc 1 Filed 08/29/23 Entered 08/29/23 14:59:27   Desc
                        Main Document Page 52 of 52
